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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


JOHN DOE, et al.,

              Plaintiffs,
v.                                                         Case No. 16-13137

RICHARD SNYDER, et al.,

              Defendants.
                                                 /

     INTERIM ORDER DELAYING ENTRY OF FINAL JUDGMENT, PRELIMINARILY
      ENJOINING REPORTING REQUIREMENTS, AND DIRECTING PUBLICATION

       The court enters this Interim Order after consultation with counsel to provide

direction to registrants and law enforcement while the coronavirus (COVID-19)

pandemic state of emergency continues and renders effectively impossible the entry of

a final order providing complete relief.

       As explained herein, the relief provided in this Order is temporary and specifically

tied to the state of emergency declarations, state and federal.

       This Interim Order does not constitute a final judgment in this case.

       WHEREAS on February 14, 2020, this court granted Plaintiffs’ motions for

summary judgment as to Counts I – IV of the second amended complaint and entered

declaratory and injunctive relief on all of Plaintiffs’ claims, including ordering that

Michigan’s Sex Offenders Registration Act (SORA), Mich. Comp. Laws § 28.721 et

seq., is null and void as to pre-2011 registrants, and

       WHEREAS, after consultation and guidance from counsel, the court delayed the

effective date of its decision until 60 days after the entry of the final judgment in order
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(1) to “allow time for the legislature to craft and enact a new statute,” and (2) to ensure

that registrants, prosecutors’ offices, and law enforcement would likewise receive notice

of the order before the injunctive relief took effect (ECF No. 84, PageID.1805), and

       WHEREAS after further consultation with counsel, the court granted the parties’

joint request for an extension until March 20, 2020 to submit a proposed judgment (as

well as proposed notices and a description of when and how they would be served)

intended to permit reasonably swift enforcement of the judgment, and

       WHEREAS by March 20, 2020, the global pandemic caused by the COVID-19

virus had emerged and substantially disrupted all aspects of everyday life, severely

restricting the abilities of government and making it virtually impossible for the Michigan

State Police (MSP) Sex Offender Registration (SOR) Unit to complete the steps

necessary to implement a final judgment, and

       WHEREAS counsel for Defendants report that the MSP has not yet identified the

members of the ex post facto subclasses and cannot say when it will be able to

determine which registrants belong to those subclasses (and are therefore entitled to

relief under Count IV), which is necessary in order to identify which registrants will no

longer be subject to SORA, and which registrants will be subject to a more limited

SORA, and

       WHEREAS counsel for Defendants further report that it would be effectively

impossible for the MSP SOR Unit to mail the 44,000 individual notices to class

members within the time frames originally contemplated because MSP SOR Unit

employees are required to work from home, and lack access to certain computing


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infrastructure and input from senior decision-makers and state employees in other

departments (e.g., Technology, Management and Budget) necessary to implement the

court’s order, and

       WHEREAS the parties report that although remedial legislation has been

proposed, the state legislature is not meeting in regular session, and committee

hearings have been cancelled or postponed bringing legislative processes to a near-

standstill, and

       WHEREAS the parties report that numerous registrants attempting to report in

person have been turned away based on a February 21, 2020 memorandum from the

MSP sent to law enforcement agencies instructing them not to take actions such as

verifying registration unless the agency could confirm that the registrant’s offense

occurred after April 11, 2011 (ECF No. 89-2, PageID.1836), and

       WHEREAS the widespread closure of police stations to the public in response to

the COVID-19 pandemic makes in-person compliance with SORA effectively impossible

for registrants, and would in any event be inconsistent with current physical isolation

directives,

NOW THEREFORE,

       IT IS ORDERED that any final judgment is hereby SUSPENDED for the duration

of the current COVID-19 crisis. The “current COVID-19 crisis” shall be considered

ended:

       (a) when there is no longer an operative federal or state executive order or

legislative act declaring a state of emergency, or


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       (b) when the Court determines that the conditions giving rise to the need for this

Interim Order no longer apply.

       IT IS FURTHER ORDERED that Defendants and their agents are

PRELIMINARILY ENJOINED from enforcing registration, verification, school zone, and

fee violations of SORA that occurred or may occur from February 14, 2020, until the

current crisis has ended, and thereafter until registrants are notified of what duties they

have under SORA going forward. 1 This interim injunctive relief conforms with and

implements this court’s order that registrants cannot be held strictly liable for SORA

violations. (ECF No. 84, PageID.31.)

       IT IS FURTHER ORDERED that this Interim Injunction takes effect

IMMEDIATELY and applies to the primary class.

       IT IS FURTHER ORDERED that during this interim period the parties will

CONTINUE to prepare the form of a Final Judgment, notices, and a plan of when and

how the notices will be served. Counsel are expected to be prepared to submit the

jointly-proposed Final Judgment not later than 14 days after the current crisis ends.

Pursuant to the court’s opinion and order of February 14, 2020, the Final Judgment

shall take effect 60 days after the date it is entered.

       IT IS FURTHER ORDERED that within seven days of the entry of this order:

       (a) The MSP and Plaintiffs’ counsel shall POST notice of this order, and a copy




       1This interim injunction enjoins only enforcement. It does not bar the defendants
from maintaining the registry, such as inputting information about new registrants or
continuing the Public Sex Offender Registry.

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of it or link to it, on their websites 2 and/or such other locations as will with reasonable

assurance allow it to be seen widely by class members;

       (b) Whereas counsel for Defendants have identified the Prosecuting Attorneys

Coordinating Counsel (PACC) as a suitable state agency for effective communication to

individual Prosecuting Attorneys’ offices, the Executive Director of PACC is DIRECTED

FORTHWITH to provide effective notice of this order, and a copy of it or link to it, by

email to all Michigan Prosecuting Attorneys;

       (c) The MSP SOR Unit shall PROVIDE effective notice of this order, and a copy

of it or link to it, by email to the Michigan Association of Chiefs of Police and to the

Michigan Sheriffs’ Association, who are expected to transmit the notice to all law

enforcement personnel within those agencies who are responsible for SORA

enforcement matters.

       Finally, IT IS ORDERED that parties REPORT to the court by joint memorandum

or telephone conference, at their option, every 30 days on their progress in completing

the tasks set out above and in the Court’s February 14, 2020, Opinion and Order, and

any other matters pertinent to moving this case forward as expeditiously as reasonably

possible in light of the current crisis.

                                     s/Robert H. Cleland        /
                                     ROBERT H. CLELAND
                                     UNITED STATES DISTRICT JUDGE
Dated: April 6, 2020




       2MSP website: https://www.michigan.gov/msp/0,4643,7-123-1878_24961---
,00.html; ACLU website: ACLU website: https://www.aclumich.org/en/SORA.
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 6, 2020, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner                   /
                                                                Case Manager and Deputy Clerk
                                                                (810) 292-6522
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